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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                  FORT PIERCE DIVISION

                                  CASE NO.: 2:17-cv-14281-JEM

  JODY GUDGER AND RHONDA KING,
  on behalf of themselves and those similarly situated,

         Plaintiffs,
  v.

  CENTENE MANAGEMENT COMPANY, LLC.
  a Foreign Limited Liability Company, and
  SUNSHINE STATE HEALTH PLAN, INC.,
  Florida Profit Corporation,

        Defendants.
  _______________________________________/

                AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL

         Plaintiffs, JODY GUDGER (“GUDGER”) and RHONDA KING (“KING”), file this

  Amended Complaint on behalf of themselves and those similarity situated (collectively referred to

  as “Plaintiffs”), against Defendants, CENTENE MANAGEMENT COMPANY, LLC

  (“CENTENE”) and SUNSHINE STATE HEALTH PLAN, INC., (“SUNSHINE”)(CENTENE

  and SUNSHINE collectively referred to as “Defendants”) and state as follows:

         Plaintiffs are seeking to conditionally certify the following class/subclasses of employees

  who worked for Defendants as follows:

  ANY AND ALL SALARIED EMPLOYEES WHO WORKED FOR DEFENDANTS,
  ANYWHERE IN FLORIDA, FROM AUGUST 7, 2014, THROUGH CURRENT, IN ANY
  OF THE FOLLOWING POSITIONS:

         •       CASE MANAGER, LONG TERM CARE; OR
         •       NURSING HOME TRANSITION SPECIALIST; OR
         •       MEDICAL NECESSITY SPECIALIST; OR

  AND WHO WORKED FORTY (40) OR MORE HOURS IN ONE OR MORE
  WORKWEEKS, WERE MISCLASSIFIED AS EXEMPT UNDER THE FLSA BY
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  DEFENDANTS, AND WERE NOT PAID TIME AND ONE HALF OVERTIME
  COMPENSATION FOR THEIR OVERTIME HOURS WORKED.

                                         JURISDICTION

         1.      Jurisdiction in this Court is proper as the claims are brought pursuant to the Fair

  Labor Standards Act, as amended (29 U.S.C. §201 and 215(a)(3), et seq., hereinafter called the

  “FLSA”), to recover unpaid overtime wages, compensatory damages, an additional equal amount

  as liquidated damages, and to obtain declaratory relief, and reasonable attorney’s fees and costs.

         2.      The jurisdiction of the Court over this controversy is based upon 29 U.S.C.

  §216(b).

         3.      This Court has the authority to grant declaratory relief pursuant to the FLSA and

  the Federal Declaratory Judgment Act (“DJA”), 28 U.S.C. §§ 2201-02.

                                             PARTIES

         4.      At all times material hereto, the named Plaintiffs, GUDGER and KING, worked

  for Defendants in various counties throughout Florida including in Fort Pierce, Florida.

         5.      Defendant, CENTENE, is a Wisconsin corporation with its corporate headquarters

  located at 7700 Forsyth Blvd., Suite 800, St. Louis, Missouri, and is registered to do business,

  and does business, in Florida.

         6.      Defendant, SUNSHINE, is a Florida for-profit corporation with its corporate

  headquarters located at 7700 Forsyth Blvd., Suite 800, St. Louis, Missouri who likewise does

  business in Florida.

         7.      The Defendants are owned by the Centene Corporation, a multi-line healthcare

  enterprise, that provides nationwide programs and related services to individuals who are

  uninsured and underinsured.

         8.      Defendants operate in interstate commerce, by providing managed care to

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  customers across the country, including Florida.

         9.      Defendants’ gross annual revenue for each year in which the named Plaintiffs,

  GUDGER and KING, and the putative class members worked, either individually, or jointly,

  exceeded $500,000.00.

         10.     At all relevant times, Defendants are, and have been, “employers” engaged in

  interstate commerce and/or the production of goods for commerce, within the meaning of the

  FLSA, 29 U.S.C. §203(d).

         11.     Defendants are employers as defined by the FLSA, in that Defendants, during all

  times relevant and in each year during the relevant statute of limitations, had employees regularly

  engaged in interstate and intrastate commerce, and likewise engaged in business transactions

  across state lines and with products and goods created outside Florida, and imported in for local

  use.

         12.     Defendants are joint employers over Plaintiffs, and the putative class members, in

  that Defendants: (a) jointly determined, shared, and allocated the power to direct, control, or

  supervise Plaintiffs, and the putative class, by direct or indirect means; (b) jointly determined,

  shared, and allocated the power to—directly or indirectly—hire or fire Plaintiffs and the putative

  class, or modify the terms or conditions of Plaintiffs’, and the putative class’ employment; (c)

  shared management or a direct or indirect ownership interest, and interchangeably controlled, or

  were controlled by, each other; and (d) jointly determined, shared, and allocated responsibility

  over functions ordinarily carried out by an employer, such as handling payroll, providing workers’

  compensation insurance, paying payroll taxes, or providing the facilities, equipment, tools, or

  materials necessary to complete the work.




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                                     STATEMENT OF FACTS

          13.     During the relevant limitations period, Plaintiffs, GUDGER and KING, and

  similarly situated class members, have been employed by Defendants under the titles of either:

  (a) “Case Manager, Long Term Care”; (b) “Nursing Home Transition Specialist”; and (c)

  “Medical Necessity Specialist.”

          14.     KING was employed by Defendants as a “Case Manager, Long Term Care” during

  the relevant two (2) and three (3) year statute of limitations.

          15.     GUDGER was employed by Defendants as a “Case Manager, Long Term Care”

  during the relevant three (3) year statute of limitations.

          16.     GUDGER was also employed by Defendants as a “Nursing Home Transition

  Specialist,” or “Medical Necessity Specialist,” during the relevant two (2) and three (3) year

  statute of limitations.

          17.     In her/their capacity as a “Case Manager, Long Term Care,” KING and GUDGER,

  and the similarly situated class members, delivered and performed case management and care

  coordination services on Defendants’ behalf to clients.

          18.     As Case Managers, Long Term Care, KING and GUDGER, and the similarly

  situated class members’ primary job duties were non-exempt including, but not limited to,

  conducting assessments of enrollees eligible for care based on predetermined standards,

  developing care plans based on directives and instruction from Defendants, assisting with

  referrals to providers, resolving complaints and other matters within predetermined guidelines

  and action plans, and performing other related duties.

          19.     To that end, KING and GUDGER, and the similarly situated class members,

  performed similar and/or nearly identical duties, and were paid in the same manner.



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         20.     KING and GUDGER, and the similarly situated class members, are/were non-

  exempt employees under the FLSA and are/were entitled to time and one half overtime

  compensation for all hours worked over forty (40) within a work week.

         21.     Yet, Defendants misclassified them as exempt and failed to pay them overtime

  compensation for hours worked over forty (40) per workweek.

         22.     Defendants uniformly misclassified Plaintiffs, and the similarly situated class

  members as exempt, without specific analysis of job duties and responsibilities actually

  performed on an individual basis. This type of blanket classification lends itself to class

  determination, rather than on an individual basis.

         23.     In her/their capacity as a “Nursing Home Transition Specialist” and “Medical

  Necessity Specialist” GUDGER, and the similarly situated class members, delivered and

  performed case coordination services on Defendants’ behalf to clients.

         24.     As a “Nursing Home Transition Specialist,” and “Medical Necessity Specialist”

  GUDGER, and the similarly situated class members’ primary job duties were non-exempt

  including, but not limited to, conducting assessments of enrollees eligible for care based on

  predetermined standards, developing care plans based on directives and instruction from

  Defendants, assisting with referrals to providers, resolving complaints and other matters within

  predetermined guidelines and action plans, and performing other related duties.

         25.     To that end, GUDGER, and the similarly situated class members, performed

  similar and/or nearly identical duties, and were paid in the same manner.

         26.     GUDGER, and the similarly situated class members, are/were non-exempt

  employees under the FLSA and are/were entitled to time and one half overtime compensation for

  all hours worked over forty (40) within a work week.



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          27.    Yet, Defendants misclassified them as exempt and failed to pay them overtime

  compensation for hours worked over forty (40) per workweek.

          28.    Defendants uniformly misclassified Plaintiffs, and the similarly situated class

  members as exempt, without specific analysis of job duties and responsibilities actually

  performed on an individual basis. This type of blanket classification lends itself to class

  determination, rather than on an individual basis.

          29.    GUDGER, and the similarly situated class members, performed non-exempt work

  that required payment of overtime compensation.

          30.    GUDGER and KING, and similarly situated class members, regularly worked in

  excess of sixty (60) hours per week from the beginning of her/their employment until Defendants

  changed their policy to prohibit overtime hours from being worked starting on or about April 16,

  2017.

          31.    Throughout her/their employment, Defendants failed to compensate GUDGER

  and KING, and similarly situated class members at a rate of one and one-half times their regular

  rate for all hours worked in excess of forty (40) hours in a single work week.

          32.    Defendants failed to track or maintain any valid records of the number of hours

  worked by GUDGER, KING, or the similarly situated class members during her/their

  employment, and did not maintain a time keeping system for employees that complied with the

  FLSA’s record keeping requirements.

          33.    GUDGER and KING, and the similarly situated class members, should be

  compensated at the rate of one and one-half times her/their regular rate for all overtime hours

  worked, as required by the FLSA.

          34.    Defendants violated the FLSA in that:



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                a.      GUDGER and KING, and the similarly situated class members, worked in

                        excess of forty (40) hours per week for the relevant period of employment

                        with Defendants;

                b.      No payments or provisions for payment have been made by Defendants to

                        properly compensate GUDGER and KING, and the similarly situated class

                        members, at the statutory rate of one and one-half times their regular rate

                        for those hours worked in excess of forty (40) hours per work week, as

                        provided by the FLSA; and

                c.      Defendants failed to maintain proper time records as mandated by the

                        FLSA.

         35.     GUDGER and KING, and the similarly situated class members, have retained the

  law firm of RICHARD CELLER LEGAL, P.A. to represent her/them in the litigation and has

  agreed to pay the firm a reasonable fee for its services.

         36.     Other individuals already have expressed their desire to opt-in to this case, and

  have, and have filed their consents to join already.

         37.     GUDGER and KING seek the conditional certification of all classes of similarly

  situated class members identified above in this Amended Complaint just prior to Paragraph 1.

                                      COUNT I
               VIOLATION OF 29 U.S.C. §207 OVERTIME COMPENSATION

         38.     Plaintiff re-alleges and reavers paragraphs 1 through 37 of the Amended

  Complaint, as if fully set forth herein.

         39.     GUDGER and KING, and the similarly situated class members, worked in excess

  of the forty (40) hours per week for which they were not compensated at the statutory rate of one

  and one-half times their regular rate of pay.

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          40.     GUDGER and KING, and the similarly situated class members, were/are entitled

  to be paid at the statutory rate of one and one-half times their regular rate of pay for those hours

  worked in excess of forty (40) hours.

          41.     Defendants uniformly classified Plaintiffs, and all other similarly situated

  individuals in each of the positions referenced above as exempt, without regard to individual

  analysis of what job duties each individual performed.

          42.     At all times material hereto, Defendants failed to maintain proper time records as

  mandated by the FLSA.

          43.     Defendants’ actions were willful and/or showed reckless disregard for the

  provisions of the FLSA, as evidenced by their failure to compensate GUDGER and KING, and

  the similarly situated class members, at a rate of one and one-half times their regular rate of pay

  for the hours worked in excess of forty (40) hours per weeks when they knew, or should have

  known, such was, and is due.

          44.     Defendants failed to properly disclose or apprise GUDGER and KING, and the

  similarly situated class members, of their rights under the FLSA.

          45.     Due to the intentional, willful, and unlawful acts of Defendants, GUDGER and

  KING, and the similarly situated class members, suffered and continue to suffer damages and lost

  compensation for time worked over forty (40) hours per week, plus liquidated damages.

          46.     GUDGER and KING, and the similarly situated class members, are entitled to an

  award of reasonable attorney’s fees and costs pursuant to 29 U.S.C. §216(b).

          WHEREFORE, Plaintiffs respectfully request that judgment be entered in their favor (and

  in favor of all consenting similarly situated class members) for overtime damages owed, liquidated

  damages, attorneys’ fees and costs, and any and all relief that this Court deems proper under the



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  FLSA.

           Plaintiffs further request conditional certification of the classes of all similarly situated

  class members identified above in this Amended Complaint just prior to Paragraph 1.

                                            JURY DEMAND

          Plaintiffs demand trial by jury on all issues so triable as a matter of right by jury.

  Dated: February 20, 2018.



                                                 By: /s Noah E. Storch_
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                                                 Counsel for Plaintiffs


                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY, that on this 20th day of February, 2018, I electronically filed the

  foregoing with the Clerk of the Court by using the CM/ECF system which will send a copy to all

  counsel of record.



                                                         /s Noah E. Storch
                                                         Noah E. Storch, Esq.




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